Case 3:17-cV-OO718-.]AG Document 174 Filed 12/04/18 Page 1 of 16 Page|D# 3901

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division
STEVEN B BRINCEFIELD, on behalf of the
Morton G. Thalhimer, Inc. Employee Stock
Ownership Plan, and derivatively on behalf
Of Morton G. Thalhimer, Inc., as Trustee of the
Steven B. Brincefleld Revocable Trust,
Plaintiff,
v. Civil Action No. 3:17-cv-718-JAG
LANCE T. STUDDARD, et al.,
Defendants,
v.
MORTON G. THALHIMER, INC.,
Nominal Defendant.
OPINION
Steven B. Brincefield worked for Morton G. Thalhimer, Inc. (“Thalhimer”), a large
commercial real estate firm. Brincefleld owns Thalhimer stock and participates in the
company’s Employee Stock Ownership Plan (“ESOP”). Aher 'l`halhimer’s stock prices declined
significantly, Brincefleld brought claims under the Employment Retirement Income Security Act
(“ERISA”), as well as direct and derivative state law claims, against several defendants In
broad tenns, Brincefleld alleges that the defendants created the ESOP for their own benefit and
concealed fraudulent accounting that caused the stock prices to plummet.
All defendants moved to dismiss, and Thalhimer moved to terminate the derivative

proceedings The Court held a hearing and issued preliminary rulings on October 15, 2018. (Dk.

No. 150.) This Opinion details those rulings and announces additional decisions.

Case 3:17-cV-OO718-.]AG Document 174 Filed 12/04/18 Page 2 of 16 Page|D# 3902

I. FACTS ALLEGED IN THE AMENDED COMPLAINT

Brincelield worked for Thalhimer for 38 years before retiring in 2012. He owns stock
through the ESOP and Thalhimer stock directly. Although companies typically use ESOPs to
encourage employee stock ownership and provide retirement benefits, Brincefield alleges that
Thalhimer’s directors designed the ESOP to enrich themselves Paul F. Silver, C. Lee Warfield,
lII, Evan M. Magrill, David R. Dustin, Jr., and Jeffrey S. Bisger (collectively, the “Director
Defendants”) have served on Thalhimer’s Board of Directors and the ESOP’s Board of Trustees.
All have held various officer positions for Thalhimer or its subsidiaries for many years. The
Director Defendants appointed Lance T. Studdard as Special Trustee of the ESOP.

Brincefield alleges the defendants created the ESOP as a “Tax-Free Cash Warehouse”
through a three-step process. (Am. Compl., at 14.) First, Silver and Bisger owned a controlling
77% interest in Thalhimer. In 2004, they sold 50.2% to the ESOP, but retained control as ESOP
Trustees. In 2011, Silver and Bisger sold their remaining shares to the ESOP, loaning money at
a high interest rate to Thalhimer to finance the transaction (“2011 Loans”). 'l`hey appointed
Wartield, Magrill, and Dustin as ESOP trustees. In 2016, Magrill informed Thalhimer
shareholders that the ESOP would buy all remaining stock. Brincetield told Magrill that he
would not sell his stock, and Magrill threatened that Thalhimer would no longer pay minimum
tax distributions to shareholders after the sale. On June 20, 2016, Brincefield notified Thalhimer
that the 1998 Shareholder Agreement required it to continue to pay minimum tax distributions

On June 30, 2016, Studdard finalized the offering price and all shareholders except for
Brincefield sold their stock to the ESOP for above fair market value (“2016 ESOP Transaction”).

The ESOP bought the stock with a large SunTrust loan. As ESOP trustees, the Director

Case 3:17-cV-OO718-.]AG Document 174 Filed 12/04/18 Page 3 of 16 Page|D# 3903

Defendants controlled the vast majority of Thalhimer stock. Alier the sale, Thalhimer did not
pay minimum tax distributions to the ESOP or Brincefield.

In September, 2016, Brincefield demanded documents as a shareholder. Specifically, he
wanted to know the value of the company and why the Director Defendants stopped making
minimum distributions Thalhimer largely refused to turn over documents because Brincefield
did not request them for “proper purposes.” (Am. Compl., at 25.)

In early 2017, Brincetield learned through a former Thalhimer colleague that (l)
Thalhimer’s stock value had plummeted; (2) the ESOP had overpaid for the stock in 2016; and
(3) the Director Defendants engaged in conflicted transactions with the ESOP. In January, 2017,
Dustin told Brincefield that Thalhimer expected a loss for the previous year. Brincefield made
another demand for corporate records to research the loss. The documents he received revealed
that the Director Defendants knew about Thalhimer’s misleading financial statements in 2016,
'I`hey also revealed that Silver, Bisger, Magrill, and Warfield made large, high-interest loans to
Thalhimer so the company could pay the SunTrust loan from the 2016 ESOP Transaction.

On February 16, 2017, the Director Defendants explained to the shareholders who sold
their stock in the 2016 ESOP Transaction that MGT Construction (“MG'I`”), a subsidiary ol`
Thalhimer, had not paid millions of dollars in expenses since 2014 and had engaged in fraudulent
accounting practices. 'l`hey also told the former shareholders to prepare to buy their stock back
from the ESOP to help make up for the losses. With Studdard’s help, the Director Defendants
unwound the 2016 ESOP Transaction (“2017 Unwinding”). Even with the unwinding,
Thalhimer’s stock price dropped millions of dollars and the ESOP beneficiaries, including

Brincefield, lost retirement savings.

Case 3:17-cV-OO718-.]AG Document 174 Filed 12/04/18 Page 4 of 16 Page|D# 3904

In addition to all of these shenanigans with the ESOP, the Director Defendants also
directed many lucrative real estate investments away from Thalhimer and the ESOP to their own
privately held companies. They often financed these investments With loans from Thalhimer,
further decreasing Thalhimer’s and the ESOP’s value. Additionally, the Director Defendants
forced MGT to provide services to other private companies without timely payment,
exacerbating MGT’s losses.

On April 19, 2017, Brinceiield sent a demand letter to Thalhimer, directing the company
to take action against the Director Defendants. The company appointed a new board of directors
consisting of Wartield, Magrill, Christopher E. Rouzie, John L. Vincie, llI, and Michael N.
Mulkey. The board appointed Vincie and Mulkey to a Special Litigation Committee (“SLC”) to
investigate Brincefield’s claims. On January 8, 2018, it came as no surprise that the SLC
concluded Thalhimer should take no action in response to Brincefield’s demand. The SLC
directed the company to move to dismiss any derivative claims in his complaint. Brincefleld
alleges the SLC’s review did not comply with Virginia law. On April 20, 2018, Brincefleld sent
a second demand letter for Thalhimer to sue accounting firm Cherry Bekaert LLP. Thalhimer
responded that it intended to pursue claims against Cherry Bekaert.'

On October 26, 2017, Brinceiield filed a complaint against the Director Defendants and
Studdard. Brincefleld amended the complaint on July 30, 2018, adding five new defendants who
participated in the alleged breaches. The first new defendant, Cherry Bekaert, failed to identify
MGT’s fraud. The next, Corporate Capital Resources, LLC (“Corporate Capital”), provided
consulting services to Thalhimer and the ESOP. William Gust, a lawyer for Gentry Locke and

consultant for Corporate Capital, advised Thalhimer and the ESOP. Michael A. Coffey, the

 

1 Thalhimer eventually sued Cherry Bekaert in Richmond Circuit Court on August 16, 2018.
4

Case 3:17-cV-OO718-.]AG Document 174 Filed 12/04/18 Page 5 of 16 Page|D# 3905

president of Corporate Capital, provided Thalhimer and the ESOP with consulting services2

The final new defendant, Shcldrick, McGehee & Kohler, LLC, provided stock valuation services
to the ESOP, and settled with Brincetield before the Court heard the motions to dismiss
Brincefield brings ten counts in the amended complaint: (1) violation of ERISA § 406(a)
against the Director Defendants, Studdard, Gust, Coffey, and Corporate Capital for causing the
ESOP to engage in non-exempt prohibited transactions; (II) violation of ERISA § 404(a) against
the Director Defendants, Studdard, Gust, Coffey, and Corporate Capital for breaching their
fiduciary duties; (IlI) equitable relief under ERISA § 502(a)(3) for unjust enrichment against all
defendants; (IV) a derivative action on behalf of Thalhimer against the Director Defendants for
conversion;3 (V) a derivative action on behalf of Thalhimer and on behalf of the ESOP against
the Director Defendants“ for statutory conspiracy; (VI) a derivative action on behalf of
Thalhimer and on behalf of the ESOP against the Director Defendants f`or common law
conspiracy; (VII) a derivative action on behalf of Thalhimer against the Director Defendants for
breach of fiduciary duty; (VIII) an action by Brincefield directly and on behalf of the ESOP
against Warfield, Magrill, and Dustin for breach of contract; (IX) a derivative action on behalf of
Thalhimer against Cherry Bekaert for professional malpractice; and (X) an action by Brincefield

directly and on behalf of the ESOP against Cherry Bekaert for professional malpractice

 

2 Corporate Capital’s sole member is Gentry Locke. Gentry Locke previously represented the
Director Defendants, but because the amended complaint names Corporate Capital, Gust, and
Coffey as defendants the Court allowed Gentry Locke to withdraw as counsel. (Dk. No. 62.)

3 Although the Director Defendants briefly mention Count IV in their motion to dismiss, the
Court confirmed at the hearing that no defendants moved to dismiss this count. In any event,
because Count IV brings a derivative claim, the Court will consider it when deciding
Thalhimer’s motion to terminate derivative proceedings

4 Brincefield’s counsel indicated at the hearing that, contrary to the amended complaint, Counts
V and VI only pertain to the Director Defendants

5

Case 3:17-cV-OO718-.]AG Document 174 Filed 12/04/18 Page 6 of 16 Page|D# 3906

II. DISCUSSION
A. Thalhimer’s Mo!ion to Terminate Derivative Proceedings

Federal Rule of Civil Procedure 23.l(c) does not set forth a standard of review for
motions to terminate derivative proceedings Because the motion to terminate requires the Court
to consider information outside of the complaint, the Court will apply the Rule 56 summary
judgment standard. See Luzak v. Lighl, No. 1:15-cv-501, 2016 WL 3854118, at *2 (E.D. Va.
July 8, 2016), aff’d, 678 F. App’x 180 (4th Cir. 2017) (applying the summary judgment standard
to a motion to dismiss derivative proceedings).

Luzak also set forth requirements for terminating derivative proceedings filed after an
SLC rejects a shareholder demand. Courts must decide whether the SLC “acted properly in
concluding that litigating [] derivative claims was not in the best interests of the Company,”
pursuant to the Virginia Stock Corporation Act. Luzak, 2016 WL 3854118, at *3 (citing Va.
Code Ann. § 13.1-672.4). To avoid dismissal, a plaintiff must show one of the following:

(1) that a majority of “disinterested” directors did not appoint the SLC members;

(2) that the SLC members themselves Were not “disinterested”; (3) that the SLC

did not conduct a review and evaluation, “adequately informed in the

circumstances, of the allegations made in the complaint”; (4) that the SLC did not

determine that maintenance of the derivative claims was not in the best interests

of the Company; (5) that the SLC's determination was not made in good faith; [or]

(6) that the SLC did not submit a “short and concise” statement in support of its

decision.
Id. The Court, however, cannot make the determinations that Virginia law requires on the
existing record. 'I`hus, as in Luzak, Brincefield may pursue discovery before the Court rules on

the motion. 2016 WL 3854118, at *2. The Court will decide the extent of discovery after

reviewing the parties’ briefing. Accordingly, the Court defers deciding the motion to terminate.

Case 3:17-cV-OO718-.]AG Document 174 Filed 12/04/18 Page 7 of 16 Page|D# 3907

B. Standing5

To sue in federal court, a plaintiff must establish Article III standing by showing a
“‘concrete and particularized’ injury that is fairly traceable to the challenged conduct of the
defendant and is likely to be redressed by a favorable judicial decision.” Ansley v. Warren, 861
F.3d 512, 517 (4th Cir. 2017) (quoting Lujan v. Defenders of Wildlife, 504 U.S. 555, 560-61
(1992)). An ERISA plaintiff alleges an injury when he pleads a loss to a plan’s assets due to
declining stock prices DiFelice v. U.S. Ai)'ways, Inc., 235 F.R.D. 70, 74-76 (E.D. Va. 2006).
Specifically, a plaintiffs claim that his “retirement accounts [are] worth less than they would
have been absent the breach of` duty” supports Article III standing. In re Mul. Funa's Inv. Lz'tz'g.,
529 F.3d 207, 216 (4th Cir. 2008).

Studdard argues that Brincefield has not alleged a loss traceable to his conduct.6 The
amended complaint, however, sufficiently alleges a loss to the ESOP and Brincefield’s interest in
the ESOP. See DiFe/ice, 235 F.R.D. at 76. Brincefield claims that the 2017 Unwinding did not
make the ESOP whole, and the plan incurred costs and fees in the process Brincefield also

pleads facts about Studdard’s involvement in the 2016 ESOP Transaction and the 2017

Unwinding. Thus, Brincefield sufficiently alleges a loss attributable to Studdard,

 

5 A motion to dismiss for lack of standing pertains to the Court’s subject matter jurisdiction
under Rule 12(b)(l). CGM, LLC v. BeIISouth Telecomms., Inc., 664 F.3d 46, 52 (4th Cir. 2011).
The plaintiff bears the burden of proving proper subject matter jurisdiction. Adams v. Bain, 697
F.2d 1213, 1219 (4th Cir. 1982).

6 Gust also moved to dismiss on standing grounds Because the Court disposes of all claims
against Gust pursuant to Rule l2(b)(6), it will not address Gust’s standing argument.

7

Case 3:17-cV-OO718-.]AG Document 174 Filed 12/04/18 Page 8 of 16 Page|D# 3908

C. Rule 12(b) (6) Motions to Di.rmis.t‘7

I. Count I: Viola!ion of ERISA M06(a) for Non-Exempt Prohibiled Transactions
(Director Defendants, Studdard, Gust, Coffey, Corporate Capital)

In a suit based on ERISA violations, the Court first must decide if each defendant meets
the statutory definition of a fiduciary. Coleman v. Natz'onwide Life Ins. Co., 969 F.2d 54, 60-61
(4th Cir. 1992). On a motion to dismiss “the threshold question is whether the plaintiff
sufficiently alleges that [the defendant] was a fiduciary” under ERISA. Paasch v. Nat'l Rural
Elec. Coop. Ass'n, 177 F. Supp. 3d 930, 936 (E.D. Va. 2016), By definition:

[A] person is a fiduciary with respect to a plan to the extent (i) he exercises any

discretionary authority or discretionary control respecting management of such

plan or exercises any authority or control respecting management or disposition of

its assets, (ii) he renders investment advice for a fee or other compensation, direct

or indirect, with respect to any moneys or other property of such plan, or has any

authority or responsibility to do so, or (iii) he has any discretionary authority or

discretionary responsibility in the administration of such plan.
29 U.S.C. § 1002(21)(A). Courts must consider whether the defendant acted as a fiduciary for
the “particular activity at issue.” Coleman, 969 F.2d at 61.

Brincefield has not pled facts showing that Gust, Coff`ey, and Corporate Capital exercised
the kind of discretion or control necessary to qualify as ERISA fiduciaries for the alleged

prohibited transactions See Custer v. Sweeney, 89 F.3d 1156, 1163 (4th Cir. 2005) (afiirming

dismissal when complaint failed to show that the defendant “transcended his role as legal

 

7 Rule 12(b)(6) gauges the sufficiency of a complaint without resolving any factual discrepancies
or testing the merits of the claims Republican Party of N. C. v. Marlin, 980 F.2d 943, 952 (4th
Cir. 1992). A court must accept all allegations in the complaint as true and must draw all
reasonable inferences in favor of the plaintiff`. Nemet Chevrolet, Ltd. v. Consumerafairs.com,
Inc., 591 F.3d 250, 253 (4th Cir. 2009) (citing Edwards v. Cin of Goldsboro, 178 F.3d 231, 244
(4th Cir. 1999)). The principle that a court must accept all allegations as true, however, does not
apply to legal conclusions Ashcrofl v. Iqbal, 556 U.S. 662, 678 (2009). To survive a Rule
12(b)(6) motion to dismiss, a complaint must state facts that, when accepted as true, state a claim
to relief that is plausible on its face. Id. “A claim has facial plausibility when the plaintiff pleads
factual content that allows the court to draw the reasonable inference that the defendant is liable
for the misconduct alleged.” Id. (citing Bell Atl. Corp. v. Twombly, 550 U.S. 544, 556 (2007)).

8

Case 3:17-cV-OO718-.]AG Document 174 Filed 12/04/18 Page 9 of 16 Page|D# 3909

counsel”); Gerosa v. Savas!a & Co., !nc., 329 F.3d 317, 320 n.3 (2d Cir. 2003) (“[A]ctuaries,
attorneys, and accountants are not ordinarily fiduciaries unless they render investment advice or
are given special authority over plan management.”). The Court dismisses Count I against those
defendants ln contrast, Brincefield pleads facts showing that the Director Defendants and
Studdard had discretionary control and drove the process culminating in the 2016 ESOP
Transaction and 2017 Unwinding. Brincefield also alleges that certain Director Defendants
made loans to the ESOP in 2016 while exercising control over the ESOP. Accordingly,
Brincefield has established the Director Defendants’ and Studdard’s fiduciary status

ERISA § 406 prohibits certain conflicted or self-interested transactions 29 U.S.C.
§ 1106. ERISA requires courts first to ask whether § 406 prohibits the transaction, then
determine whether §408 authorizes the transaction through one of its exemptions Brundle v.
Wilminglon Tr., N.A., No. l:15-cv-l494, 2016 WL 6542718, at *10 (E.D. Va. Nov. 3, 2016).
Brincefield sufficiently alleges that the Director Defendants and Studdard, acting as fiduciaries
engaged in ERISA prohibited transactions The issue of whether any § 408 exemptions apply is
not appropriate at this stage. See id. (making such determinations on summary judgment).

The claims about the 2011 Loans from Silver and Bisger, however, will not go forward.
ERISA creates a six-year statute of limitations from “the date of the last action which constituted
a part of the breach or violation.” 29 U.S.C. § 1113(1)(A). For a loan, the “last action” occurs
When loan funds are disbursed David.s'on v. Cook, 567 F. Supp. 225, 234 (E.D. Va. 1983). The
funds for the 2011 Loans were disbursed on September 26 and 28, 2011. (Dk. No. 163~2, at 18-

19.)8 Brincefield filed this action on October 26, 2017. Thus, the statute of limitations bars

 

8 Pursuant to the Court’s Order, the Director Defendants filed all documents related to the 2011
Loans On a motion to dismiss, the Court may consider documents outside the complaint if they

9

Case 3:17-cV-OO718-.]AG Document 174 Filed 12/04/18 Page 10 of 16 Page|D# 3910

Count I as it pertains to the 2011 Loans The remainder of Count I will proceed against the

Director Defendants and Studdard.

2. Count 11: Violation 01 ERISA § 404 (al for Breach of Fiduciar}g Duties
(Director Defendants, Studdard, Gust, CojTey, Corporate Capital)

Brincefield fails to state facts indicating that Gust, Coffey, and Corporate Capital acted as
fiduciaries regarding the alleged breaches, so Count II fails as to them. As for the other
defendants ERISA “imposes high standards of fiduciary duty on those responsible for the
administration of employee benefit plans and the investment and disposal of plan assets.” Tatum
v. RJR Pension Inv. Comm., 761 F.3d 346, 355 (4th Cir. 2014). Fiduciaries owe duties of loyalty
and prudence to the plan, Id. at 356. A plan fiduciary who breaches his duties “shall be
personally liable to make good to such plan any losses to the plan resulting from each such
breach.” 29 U.S.C. § 1109(a). Thus, a “fiduciary can only be held liable upon a finding that the
breach actually caused a loss to the plan.” Plasterers' Local Um°on No. 96 Pension Plan v.
Pepper, 663 F.3d 210, 217 (4th Cir. 2011). Here, Brincefield alleges that the Director
Defendants and Studdard, acting as fiduciaries breached their duties, and that those breaches
caused a loss to the ESOP. Count 11 will proceed as to the Director Defendants and Studdard,9

3. Count III.' Eauitable Relief Under ERISA 6 502(a)(3) for Uniust Enrichment
(All Defendants)

ERISA § 502(a)(3) permits courts to “enjoin any act or practice which violates [ERISA]”
or to grant “other appropriate equitable relief.” 29 U.S.C. § 1132(a)(3). Equitable relief “is
normally appropriate only for injuries that do not find adequate redress in ERISA’s other

provisions” Korotynska v. Metro. Life ]ns. Co., 474 F.3d 101, 102 (4th Cir. 2006). A plaintiff

 

are integral to the complaint and authentic. Leichling v. Honeywell, Int ’l, Inc., 842 F.3d 848, 851
(4th Cir. 2016).
9 Any claims pertaining to the 201 l Loans in Count II are time barred. (Dk. No. 163, at 3.)

10

Case 3:17-cV-OO718-.]AG Document 174 Filed 12/04/18 Page 11 of 16 Page|D# 3911

must show (1) the defendant was a fiduciary of the plan; (2) the defendant breached his fiduciary
duty; and (3) the plaintiff needs injunctive or other equitable relief to remedy the breach. Estale
of Spinner v. Anthem Health Plans of Va., 589 F. Supp. 2d 73 8, 747 (W.D. Va. 2008).

The amended complaint establishes that the Director Defendants and Studdard acted in
fiduciary capacities but fails to establish fiduciary status as to all other defendants10 Brincefield
has pled the Director Defendants and Studdard breached their fiduciary duties As for the third
element, Korotynska and its progeny provide little guidance, as they prohibit § 502(a)(3) relief
when plaintiffs repackage denial of benefits claims as equitable claims See 474 F.3d at 106.
Brincefield’s case does not involve denial of benefits Although the Court remains uncertain
about whether this case requires equitable relief, the Court allows Count Ill to proceed as to the
Director Defendants and Studdard, The Court stays this count pending resolution of the other

ERISA claims to determine the necessity of equitable relief.

4. Counts Vand VI.' Deriva!ive Action on Behall of Thalhimer and on Behall 01 the ESOP for

Slatutory and Common Law Consgiracy
(Director Defendants)

Intracorporate immunity bars conspiracy claims when a plaintiff alleges that corporate
employees conspire with each other or with the corporation. ePlus Tech., !nc. v. Aboud, 313
F.3d 166, 179 (4th Cir. 2002). In other words “a single entity cannot conspire with itself`.”
Charles E. B)'auer Co., Inc. v. NationsBank of Va., N.A., 251 Va. 28, 36, 466 S.E.2d 382, 387

(1996). Intracorporate immunity bars the conspiracy claims that Brincefield brings on behalf of

 

‘° The Court rejects the notion that it can hold non-fiduciaries liable under a “knowing
participation” theory. The Fourth Circuit recently noted the “questionable validity” of liability
based on participation in others’ breaches of their fiduciary duties Gordon v. CIGNA Corp., 890
F.3d 463, 477 n.2 (4th Cir. 2018). In the prohibited transaction context, the participation theory
requires much more than the complaint alleges about the non-fiduciaries in this case. Harris Tr.
& Sav. Bank v. Salomon Smith Barney lnc., 530 U.S. 238, 243, 245 (2000) (finding a cause of
action where non-fiduciaries sold worthless assets to the plan).

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Case 3:17-cV-OO718-.]AG Document 174 Filed 12/04/18 Page 12 of 16 Page|D# 3912

Thalhimer, Brincefield alleges that the defendants acted as agents of Thalhimer, As a matter of
law, “acts of corporate agents are acts of the corporation itself,” and no exception to this rule
applies here. ePlus Tech., 313 F.3d at 179.

Turning to Brincefield’s ESOP claim, ERISA “shall supersede any and all State laws
insofar as they may now or hereafier relate to any employee benefit plan.” 29 U.S.C. § ll44(a).
Congress intended a “comprehensive civil enforcement scheme,” providing exclusive remedies
Pilot Life Ins. Co. v. Dedeaux, 481 U.S. 41, 54 (1987). Courts should look to Congress’ intent
when deciding a preemption issue. N.Y. State Conf of Blue Cross & Blue Shield Plans v.
Travelers Ins. Co., 514 U.S. 645, 655-56 (1995). “[A]ny state-law cause of action that
duplicates supplements or supplants the ERISA civil enforcement remedy conflicts with [] clear
congressional intent.” Ae!na Health Inc. v. Davila, 542 U.S. 200, 209 (2004) (discussing
ERISA’s preemptive force in the jurisdictional context). When a state law claim “only
tangentially relates to an ERlSA plan,” however, ERISA does not preempt it. Greenbrier Hotel
Corp. v. Um'te Here Heallh, 719 F. App’x 168, 180 (4th Cir. 2018).

ERISA preempts conspiracy claims related to an ESOP, which is “undeniably an ERISA-
covered employee benefit plan.” Elmore v. Cone Mills Corp., 23 F.3d 855, 863 (4th Cir. 1994).
Brincefield attempts to “repackage” his ERISA fiduciary duty claims as conspiracy allegations
on behalf of the ESOP. Wilmington Shipping Co. v. New Eng. Life Ins. Co., 496 F.3d 326, 344
(4th Cir. 2007). These claims however, “overlap with ERISA’s remedial scheme, which
contemplates . . . claims brought by plan participants[ and] beneficiaries.” Greenbrier, 719 F.
App’x at 180. Brincefield argues that Virginia conspiracy is a “generally applicable criminal

law,” which ERISA excepts from preemption. 29 U.S.C. § 1144(b)(4). Brincefield’s case,

12

Case 3:17-cV-OO718-.]AG Document 174 Filed 12/04/18 Page 13 of 16 Page|D# 3913

however, “is a civil action, not a criminal prosecution (as contemplated by the ERISA

exception).” Allshuler v. Animal Hosps., Ltd., 901 F. Supp. 2d 269, 279 n.l6 (D. Mass 2012).
Accordingly, ERISA preempts Brincefield’s conspiracy claims on behalf of the ESOP,

and intracorporate immunity bars Brincefield’s conspiracy claims on behalf of Thalhimer, The

Court dismisses Counts V and VI as to all defendants

5. Count VH.' Derivative Action on BehalZ of Thalhimer for Breach of Fiduciarz Duly
(Director Defendants)

The Director Defendants moved to dismiss Count VII f`or the reasons in Thalhimer’s
motion to terminate. The Court denies the motion to dismiss Count VII at this time, and will
decide if this count goes forward when ruling on the motion to terminate.

6. Count VI[!.' Action b Brince reld Directl and on Behal 0 the ESOP or Breach 0 Contract
(Wa)jield, Magrill, Dustin)

ERISA preempts Brincefield’s breach of contract claim on behalf of the ESOP. See
Wilmington Shipping Co., 496 F.3d at 343-44 (finding ERISA preempted a breach of contract
claim that the court deemed “near the heartland of ERISA’s coverage”). Although “general
contract law falls within the field of law traditionally occupied by the States,” Brincefield alleges
that the ESOP trustees’ breaches damaged the ESOP and its beneficiaries Greenbrier, 719 F.
App’x at 179. This contract claim involves “relationships regulated by ERISA,” and more than
“tangentially relates to an ERISA plan.” Id. at 180.

Brincefield’s direct breach of contract count, however, involves an “ordinary contractual
relationship,” with no evidence Congress intended to supplant it. [d. The defendants make
arguments concerning whether the 1998 Stockholder Agreement applies to Brincefield’s claims

The Court declines to delve into contract interpretation on a motion to dismiss and foresees

13

Case 3:17-cV-OO718-.]AG Document 174 Filed 12/04/18 Page 14 of 16 Page|D# 3914

revisiting this claim on summary judgmentll See W. Ref Yorktown, Inc. v. BP Corp. N. Am.,
Inc., 618 F. Supp. 2d 513, 523 (E.D. Va. 2009). 'I`hus, the Court dismisses Count VIII on behalf

of the ESOP, but Brincefield’s direct claim will survive.

7. C aunt IX.' Derivative Action on Behal[ of Thalhimer for Professional Malgractice
(Cherry Bekaert)

A corporation’s directors have “complete discretion to prosecute the corporation’s causes
of action.” In re Fed. Home Loan Mtg. Corp. Derivative Litig., 643 F. Supp. 2d 790, 794-95
(E.D. Va. 2009). A shareholder wishing to initiate litigation must first make a reasonable
demand on the board of directors Id. at 795. If the board refuses the demand, or the shareholder
demonstrates that a demand would be futile, the shareholder may pursue a derivative claim. Id.
If the board chooses to pursue the claim, however, “it alone has standing to do so.” Ia’. In this
case, Thalhimer’s board has elected to pursue claims against Cherry Bekaert, so Brincefield

cannot bring those claims himself. The Court dismisses Count IX.

8. Count X.' Action by Brincefield Directl}g and on Behal[ al the ESOP for Professional

MalQraclice
(Cherry Bekaert)

Although professional malpractice claims Sound in tort, they “are actions for breach of
contract.” Hirschler v. GMD Invs. Ltd. P’ship, No. 90-1289, 1991 WL 115773, a *9 (E.D. Va.
Mar. 28, 1991). A plaintiff must demonstrate a contractual relationship giving rise to a duty, a
breach of that duty, causation, and damages Shipman v. Kruck, 267 Va. 495, 501, 593 S.E.Zd
319, 322 (2004).

A non-party to a contract can bring an accounting malpractice claim by showing that he

is a third party beneficiary to the contract, meaning the parties to the contract “clearly and

 

" The Court has allowed the parties to file multiple partial summary judgment motions (one on
each issue) by March 7, 2019. (Dk. No. 151.)

14

Case 3:17-cV-OO718-.]AG Document 174 Filed 12/04/18 Page 15 of 16 Page|D# 3915

definitely intended [the contract] to confer a benefit upon him.” Bank of Am. v. Musselman, 240
F. Supp. 2d 547, 553-54 (E.D. Va. 2003). The non-party must demonstrate the contracting
parties’ “overriding intent” to benefit him. Id. at 554. Here, Brincefield fails to plead that
Thalhimer and Cherry Bekaert “clearly and definitely” intended him as a third party beneficiary
to their contract12 Id. Additionally, no law supports Brincefield’s assertion that he can bring a
non-ERISA claim derivatively against a non-fiduciary on behalf of the ESOP. See In re Lehman
Bros. Sec. & ERISA Litig., No. 09MD2017, 2012 WL 6013012, at *2 (S.D.N.Y. Dec. 3, 2012)
(finding no cases allowing this type of claim). Accordingly, the Court dismisses Count X.
III. CONCLUSION

For these reasons the Court grants Cherry Bekaert’s, Coffey’s Corporate Capital’s and
Gust’s motions to dismiss The Court grants Studdard’s motion as to Counts V and VI, but
denies it as to all other claims Finally, the Court grants the Director Defendants’ motion in part.
Specifically, the Court dismisses Counts V and VI; Counts I and II as they pertain to the 2011
Loans; and Count VIII on behalf of the ESOP. 'I`he Court denies the Director Defendants’
motion to dismiss all other claims

The Court defers ruling on Thalhimer’s motion to terminate while the parties complete
limited discovery, and denies as moot Thalhimer’s motion to dismiss based on the Court’s other
rulings

Finally, the Court stays Count lII pending resolution of Counts 1 and II to determine if
this case requires equitable relief`.

The Court will enter an appropriate order.

Let the Clerk send a copy of this Opinion to all counsel of record.

 

12 The ERISA provision Brincefield cites does not establish the parties’ “overriding intent” to
benefit Brincefield through their accounting contract. Musselmcm, 240 F. Supp. 2d at 554.

15

Case 3:17-cV-OO718-.]AG Document 174 Filed 12/04/18 Page 16 of 16 Page|D# 3916

 

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16

